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Attomeys For Plaintiffs

Tiffany And Company and Tiffany (NJ) LLC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

)
TIFFANY AND COMPANY and )
TIFFANY (NJ) LLC, )
)
Plaintiffs, ) Civil Action 8

) =

v- Gury Trial Denfanded)
COSTCO WHOLESALE CORPORATION, )
)
Defendant. )
)

COMPLAINT

Plaintiffs, Tiffany and Company (“Tiffany”) and Tiffany (NJ) LLC (“Tiffany Licensor”)
(collectively, Tiffany and Tiffany Licensor are referred to as the “Tiffany Companies” or
“nlaintiffs’”), by their attorneys, Dickstein Shapiro LLP, allege on knowledge as to their own acts
and otherwise on information and belief as follows:

ALLEGATIONS COMMON TO ALL COUNTS

A. Nature of the Case

l. This is an action for trademark -infringement, dilution, counterfeiting, unfair
competition, injury to business reputation, false and deceptive business practices and false

advertising, all in violation of the laws of the United States and the State of New York. The

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Tiffany Companies seek a permanent injunction, damages, including defendant’s profits, trebled
under the law, punitive damages, and related relief as more fully described herein.

2. Tiffany is the world renowned manufacturer and retailer of high-end jewelry and
other fine merchandise, and licenses the exclusive right to manufacture and sell fine jewelry and
other products from its affiliate, Tiffany Licensor. Defendant Costco Wholesale Corporation
(“Costco”) is a members-only warehouse and online retailer that sells, among other products,
branded merchandise, including expensive jewelry. Costco claims it is able to offer competitive
prices by, among other things, selling in bulk, offering no frills, purchasing and offering for sale
brand name manufacturers’ excess or prior season inventory, or obtaining products from third-
party sources outside a manufacturer’s normal channels of distribution, sometimes referred to as
the gray market.

3. In connection with jewelry items such as watches, Costco regularly offers for sale
branded items from such high-end companies as Cartier, Breitling, Chanel, Movado and others.
It is known to have regularly sourced high-end watches from outside the United States, and has
aggressively litigated its ability to do so with companies such as Omega S.A. with varying
degrees of success.

4. Alongside branded watches, Costco also sells expensive gold and platinum
jewelry items, including rings, necklaces, and bracelets. Among those items are diamond
engagement rings retailing from several thousand dollars to tens of thousands of dollars, and
more. In November 2012, a consumer shopping in the Huntington Beach, California Costco
warehouse complained to Tiffany that she was disappointed to observe that Costco was offering

for sale what were promoted on in-store signs as Tiffany diamond engagement rings.

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5. Subsequent investigation showed that in the jewelry display case at the
Huntington Beach Costco location was an engagement ring alongside a point of sale (“POS”)
sign marked “639911 — PLATINUM TIFFANY .70 VS2, 1 ROUND DIAMOND RING ~—
3199.99,” and another ring alongside a different POS sign marked “605880 — PLATINUM
TIFFANY VS2.1 1.00CT ROUND BRILLIANT SOLITAIRE RING — 6399.99.” (emphasis
added) The Costco salesperson also referred to each of the rings as a “Tiffany ring,” and said
the store generally carries one of each item.

6. Neither of the rings identified in the Huntington Beach store as “Tiffany” was, in
fact, a Tiffany ring, nor was it manufactured by, approved by, licensed by, or otherwise in any
way properly associated with Tiffany. Tiffany promptly confronted Costco with its discovery,
and Costco said it removed all Tiffany references from product signage. Unbeknownst to
Tiffany, Costco had apparently been selling different styles of rings for many years that it has
falsely identified on in-store signage as “Tiffany.”

1. Tiffany then discovered that Costco was not using the Tiffany trademarks. online
for the same products at the same time, thereby avoiding detection of its unlawful activities by
Tiffany’s normal trademark policing procedures.

8. As a result of the foregoing, unbeknownst to Tiffany, Costco was able to sell in
warehouse stores around the United States for many years, including stores located in the State
of New York and this District, engagement rings falsely identified as “Tiffany,” and thereby
unlawfully trade off Tiffany’s goodwill and brand awareness to increase its own sales, including
member acceptance of Costco as a retailer of high-end jewelry products. Costco thereby falsely
led its members to believe it was a source, presumably outside Tiffany’s normal channels of

distribution, for authentic Tiffany engagement rings, but at reduced prices. There are now

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hundreds if not thousands of people who mistakenly believe they purchased and own a Tiffany
engagement ring from Costco.

9. Accordingly, Tiffany is entitled to monetary damages, trebled under the law,
including, but not limited to an amount equal to all profits of Costco by which it was unjustly
enriched by its counterfeiting of Tiffany’s valuable trademarks, plus punitive damages, costs and
~ attorneys’ fees. Included in the foregoing are monetary damages equal to the amount by which
Costco’s engagement ring business increased following its counterfeiting of the Tiffany
trademarks.

10. Tiffany confronted Costco in December of 2012 after first being alerted about the
foregoing, and was assured in response that Costco would refrain from any further use of the
Tiffany trademarks in the manner described herein. Accordingly, ‘there is no need for a
preliminary injunction at this time. Nevertheless, Costco should be permanently enjoined and
restrained from using any Tiffany trademark to falsely identify rings or other products not
manufactured by Tiffany or its licensees, and compelled to publicly admit its misconduct to the
purchasers of each such ring, and notify affected purchasers that they do not own a Tiffany
engagement ring from Costco.

B. Jurisdiction and Venue

11. The Tiffany Companies’ claims are predicated upon the Trademark Act of 1946,
as amended, 15 U.S.C. § 1051 et seq., including 15 U.S.C. §§ 1114C1)(a) and (1)(b),
§§1117(a)C), (a)G) and (b)(1), and §1125. The Court has jurisdiction over the claims in this
matter pursuant to 15 U.S.C. §1121 and 28 U.S.C. §§ 1331, 1338 and 1367(a). Venue is

properly founded in this district pursuant to 28 U.S.C. §§ 1391 (6) and (c).

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C. The Parties

12. Tiffany is a corporation duly organized and existing under the laws of the State of
Delaware, and maintains its principal place of business at 200 Fifth Avenue, New York, New
York 10010. Tiffany manufactures and sells worldwide merchandise that bears the Tiffany
Trademarks (as defined below), and is the exclusive licensee of those marks for fine jewelry and
other items from its affiliate Tiffany Licensor.

13. Tiffany Licensor is a limited liability company organized and existing under the
laws of the State of Delaware, and has its principal place of business at 15 Sylvan Way,
Parsippany, New Jersey. Tiffany Licensor is the owner of all of the Tiffany Trademarks.

14. Costco is a corporation duly organized and existing under the laws of the State of
Washington, and is authorized to do and does business in the State of New York and within this
District, as well as around the world. Costco is not and never has (i) been an owner of the
Tiffany Trademarks, (ii) a licensee of the Tiffany Trademarks, or (iii) ever sought or obtained

permission from the Tiffany Companies to use the Tiffany Trademarks on POS signs or

otherwise.
D. Tiffany’s Famous Trademarks
15. For more than 175 years, Tiffany’s merchandise has been widely advertised,

offered for sale and sold throughout the United States under various distinctive trademarks.
Famous Tiffany trademarks have been used in conjunction with the manufacture and sale of high
quality goods, including specialty gift items, such as jewelry, silver, china, glassware, decorative
objects, crystal, and clocks, under the trademarks and trade names Tiffany & Co, Tiffany,
Tiffany Blue Box, T&CO, and others (collectively the “Tiffany Trademarks”). The Tiffany
Trademarks have at all relevant times been owned by Tiffany or its predecessors and/or

affiliates.

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16. Asaresult of Tiffany’s exclusive and extensive use and promotion of the Tiffany
Trademarks in the jewelry category, those marks have acquired enormous value and recognition
in the United States and throughout the world among people shopping for certain categories of
high-end products, and in particular, jewelry. The Tiffany Trademarks are well known to the
consuming public and trade as identifying and distinguishing Tiffany exclusively and uniquely as
the source of the high quality products to which the Tiffany Trademarks are applied. The
Tiffany Trademarks are both distinctive and famous.

17. Tiffany is particularly known for its branded high-end jewelry items, such as 18
karat gold and platinum rings, bracelets, necklaces, and earrings, both with and without
diamonds or other precious gems. Authentic Tiffany jewelry is subject to significant quality
control standards to assure the consuming public about the provenance and quality of each
Tiffany item, and that it has been manufactured in accordance with strict specifications. Tiffany
stands behind that assurance of excellence and quality with a lifetime guaranty for its diamond
engagement Jewelry. To protect the brand, Tiffany fine jewelry is only sold in Tiffany retail
stores in the United States by trained sales professionals, and is not distributed or sold at discount
through off-price retail establishments anywhere in the world. In particular, Tiffany has never
sold nor would it ever sell its fine jewelry through an off-price warehouse retailer like Costco,
either directly or indirectly.

18. Asa result of the foregoing, the Tiffany Trademarks have developed a reputation
and significance in the minds of the purchasing public, worldwide, as distinguishing goods sold
under the Tiffany Trademarks as being of higher quality and manufactured to higher standards

than most other similar products, most especially jewelry manufactured and sold by Costco.

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As such, the Tiffany Trademarks have become strong, famous marks entitled to a

broad scope of protection, and are among Tiffany’s most important business assets. Any party

that falsely labels or offers for sale as Tiffany products those not manufactured and sold by

Tiffany does so in order to convert to its own use and unlawfully take advantage for itself the

goodwill and strong brand recognition of the Tiffany Trademarks, and to mislead the consuming

public into believing the secondary meaning ascribed to authentic Tiffany should apply to

products being falsely offered and sold as “Tiffany.”

20.

Tiffany Licensor owns and exclusively controls all of the Tiffany Trademarks,

including the following, which are relevant to this action and listed on the Principal Register in

the United States Patent and Trademark Office:

Mark Reg No. | Reg. Date | Goods and Services | First Owner
Use
Tiffany 1,228,409 | 2/22/1983 | Decorative Art 1868 | Tiffany (NJ) LLC
Objects Made in 15 Sylvan Way
Whole or in Part of Parsippany, New Jersey
Precious or Semi- 07054
Precious Metals-
Namely, Figurines,
Boxes, Bowls, Trays,
and Flowers, Jewelry,
Semi-Precious Stones,
and Natural and
Cultured Pearls
Tiffany 133,063 7/6/1920 | Jewelry for Personal 1868 | Tiffany (NJ) LLC
Wear, Not Including 15 Sylvan Way
Watches; [Precious Parsippany, New Jersey
Stones,] and Flat and 07054
Hollow Ware Made of
or Plated with
Precious Metal
‘Tiffany 23,573 9/5/1883 | Jewelry and Watches 1868 | Tiffany (NJ) LLC
& Co. 15 Sylvan Way
Parsippany, New Jersey
07054
Tiffany 1,228,189 | 2/22/1983 | Decorative Art 1868 | Tiffany (NJ) LLC
& Co. Objects Made in 15 Sylvan Way

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Mark

Reg No.

Reg. Date

Goods and Services

First
Use

Owner

Whole or in Part of
Precious or Semi-
Precious Metals-
Namely, Figurines,
Boxes, Bowls, Trays,
[and Flowers, ]
Jewelry, Metal Wares
Made in Whole or in
Part of Precious or
Semi-Precious Metals-
Namely, Business
Card Cases,
Candelabras,
Candlesticks, Cigar
and Cigarette Boxes,
Napkin Rings, and
Bookmarks, Semi-
Precious Stones,
Natural and Cultured
Pearls

Parsippany, New Jersey
07054

T & Co.

4,018,341

8/30/2011

Jewelry; rings,
earrings, necklaces,
charms, bracelets,
pendants, cuff links,

bracelet cuffs and

bangles; key rings of
precious metal, valet
key rings of precious
metal

1979

Tiffany (NJ) LLC

15 Sylvan Way
Parsippany, New Jersey
07054

21.

All of the above Tiffany Trademarks are valid and subsisting, and registration

Nos. 1,228,189 and 1,228,409 have become incontestable pursuant to 15 U.S.C § 1065.

E. Costco

22.

Costco is the largest membership warehouse retailer in the world. According to

its 2012 Annual Report, at fiscal year-end 2012 it had 622 warehouse stores in 41 states and

around the world, and employed over 180,000 people. It was a pioneer in its industry, and only

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sells to members who pay an annual fee to gain admittance to Costco’s no-frills warehouse
stores, or to purchase items offered on its website.

23. The no-frills limited selection approach to retailing of Costco is the polar opposite
to the approach of Tiffany, which is well-known for offering its customers attentive personalized
service in stores built out in a first-class manner consistent with the high quality and standards
associated with the Tiffany brand.

24. Costco is known by its members for offering branded merchandise from well-
known manufacturers across many product categories, at a discount. Otherwise, it offers
equivalent products, but usually under its house brand Kirkland Signature. Because it sells high
volume, and generally in large quantities, manufacturers are able to supply Costco at reduced
wholesale prices, and the Costco business model is to pass those volume savings on to members.
Costco publicly claims to have approximately 60-million members worldwide who are not only
familiar with its business model, but who also pay for the privilege of membership to gain access
to its warehouse stores.

25. Among its product lines, Costco has also historically sold at a discount higher
priced items, such as electronics, computers and cameras, many made by leading manufacturers.
Members know that some items can be sold by Costco at a discount because they are near the
end of a product cycle, and others because they have been sourced aggressively, including
overseas.

26. When it comes to even its own Kirkland Signature house brand, Costco considers
its intellectual property rights valuable and significant. Its 2012 Annual Report states:

We believe that, to varying degrees, our trademarks, trade names, copyrights,

proprietary processes, trade secrets, patents, trade dress, domain names and

similar intellectual property add significant value to our business and are
important factors in our success. We have invested significantly in the

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. development and protection of our well-recognized brands, including the Costco
Wholesale® series of trademarks and .our private label brand, Kirkland
Signature®. We believe that Kirkland Signature products are premium products
offered to our members at prices that are generally lower than those for national
brand products and that they help lower costs, differentiate our merchandise
offerings from other retailers, and generally earn higher margins. We expect to
increase the sales penetration of our private label items in the future. We rely on
trademark and copyright laws, trade secret protection, and confidentiality and
license agreements with our suppliers, employees and others to protect our
proprietary rights.

27. As a result of the foregoing business model, Costco members expect to find brand
name merchandise from all sorts of manufacturers across many product categories at a discount,
-and given Costco’s heretofore fine reputation, do not question the authenticity of branded items
offered for sale in Costco warehouse stores. Costco members similarly expect that where an
item is made by Costco, it will be clearly marked that way, and that it will usually carry the
Kirkland Signature brand name.

28. Costco knowingly, intentionally and willfully used the Tiffany Trademarks to
‘misrepresent the jewelry items described herein because they were far more valuable than its
own Kirkland Signature brand could ever be for jewelry items.

F, Costco Sells Branded Jewelry

29. Costco has added over the years higher priced product lines like fine art, fine
wine, and jewelry. In order to bring attention to its jewelry department, a product category for
which Costco is not known, it sells some branded watches from high-end manufacturers, such as
Cartier, Breitling, Chanel and Movado. At least one manufacturer, Omega S.A., has challenged
Costco’s right to sell “authentic” Omega watches obtained by Costco on the gray market. Costco
knows and understands the business value of having brand names at a discount across all product

lines, including jewelry.

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30. In the early to mid-2000s, Costco began aggressively marketing its supposed
ability to offer the same quality engagement rings as better manufacturers like Tiffany, but at a —
lower price. Indeed, in 2005, Costco allowed an ABC News crew to have access to one of its
stores to do a story comparing Costco diamond engagement rings to those from Tiffany.

31. Sometime in the early to mid-2000s, unbeknownst to Tiffany, Costco apparently
began using the Tiffany Trademarks on POS signs to distinguish some of the engagement rings
being offered to its members. However, unlike with brand name watches, which at least were
actually manufactured by the companies whose names were displayed on POS signs, the
engagement rings identified in the same jewelry cases on POS signs as “Tiffany” were not made
by, licensed by, or authorized by Tiffany.

32. Costco knew that its use of the Tiffany Trademarks to identify or describe
engagement rings would attract the attention of its members looking at its jewelry cases, and
enhance the image of that segment of the jewelry category for which Costco was not known.

33. Even though Costco had its own Kirkland Signature brand with which to label
rings it manufactured, Costco decided instead to forego use of that brand name which would
have clearly informed members about the source of its engagement rings, and instead
counterfeited the Tiffany Trademarks on POS signs.

34. Indeed, by marking some rings as Tiffany, and others not, Costco knowingly and
intentionally created the false impression that as with watches, it had a source for engagement
rings from Tiffany directly, or from parties within Tiffany’s normal channels of distribution. In
addition, since the rings themselves were not Tiffany, the counterfeiting made other non-branded
jewelry in the same display case appear more valuable by comparison since those other items

were, in fact, no different than what was falsely labeled as Tiffany.

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35. Accordingly, in addition to selling what amounted to counterfeit Tiffany rings,
Costco was also able to increase sales of all of its engagement rings. The use of the Tiffany
Trademarks brought attention not just to the rings marked Tiffany themselves, but to Costco’s
fine jewelry department generally. It also misled Costco members who compared the quality of
what were identified as Tiffany rings to those without the. Tiffany brand, as they appeared
identical since they really were.

36. Costco knew and understood there was a generic, non-infringing, and descriptive
way to offer those same rings for sale without the Tiffany Trademarks.

37. Costco counterfeited the Tiffany Trademarks for the sole purpose of misleading
its members, and creating a false impression about the rings described in the counterfeit POS
signs.

. 38. The use by Costco of the Tiffany Trademarks was intentional, and willfully
designed to evade detection by Tiffany, as evidenced by the following:

a. Access to Costco stores is limited to Costco members;

b. Costco did not promote its use of the Tiffany Trademarks outside
of its warehouse stores;

c. Costco was not known to sell Tiffany engagement rings, or to have
a source to Tiffany’s legitimate chain of distribution of such rings, so its activities
were never under suspicion by Tiffany;

d. The only place the Tiffany Trademarks were displayed were on
POS signs within a glass case in the jewelry departments of Costco warehouse
stores, making them visible only to Costco members shopping for engagement
rings in particular stores where the rings were displayed;

e. Costco members, familiar with Costco’s business model, had no
reason to suspect that rings identified as Tiffany were, in fact, not Tiffany rings;

f. Costco did not maintain stock of the subject rings at all times and
in all stores, creating the illusion of short supply as if they were real Tiffany rings;
and

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g. When selling the same rings online, Costco omitted the reference

— to “Tiffany” that it used for the same item number on its in-store POS signs. For

example, in Costco Connection dated November 2012, Costco’s online magazine,

Costco described the ring sold at the same time in its stores with the POS sign

“Tiffany” (Item No. 639911), only as “Diamond Solitaire Ring — This classic
solitaire features a .70 ct. round-brilliant cut diamond. Set in platinum.”

39. The rings identified on the Costco POS signs as “Tiffany” were not Tiffany rings.

40. As further evidence of Costco’s bad faith, it did not use any disclaimers, in signs
or otherwise, to. make clear to its members that the use of the Tiffany Trademarks was not meant
to convey the impression that the item being sold was a Tiffany product, or in any way
associated with Tiffany, its manufacturers or its manufacturing process. —

Al. Costco also did not provide any training to its salespeople about the source of the
rings identified on the POS signs as “Tiffany,” or that despite the use of the Tiffany Trademarks,
the products displayed were not Tiffany products.

42. Costco’s intent and purpose in using the Tiffany Trademarks was to convey false
information, and mislead its members about the source of the rings bearing the Tiffany
Trademarks because doing so increased sales, added to the perceived value of its high-end
jewelry department, and made its other non-branded rings look more valuable by comparison.

43. Costco engaged in the foregoing conduct to trade off of and usurp for itself the
value of the Tiffany Trademarks and the goodwill associated with them, both to sell counterfeit
Tiffany products to unsuspecting members, as well as to increase the credibility and market
acceptance of its jewelry department among its members.

44. All of the foregoing also diluted the value of the Tiffany Trademarks by causing
them to be associated with Costco and its discount warehouse operations, a method of retailing

Tiffany would never utilize or authorize for its products.

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COUNT I
Federal Trademark Infringement

45. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs 1 through 44 above.

46. Costco’s offer to sell, sale, distribution, and advertisement of engagement rings
under the Tiffany Trademarks violates Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

47. The Tiffany Trademarks are federally registered, and are entitled to protection
under both federal and common law.

48.  Costco’s unauthorized use of the Tiffany Trademarks is likely to cause confusion,
to cause mistake, and to deceive customers and potential customers as to the source or origin of
Costco’s goods and to-cause them to mistakenly believe that Costco’s goods are Tiffany’s goods,
or are otherwise affiliated, connected, or associated with Tiffany in violation of Section 32(1) of
the Lanham Act, 15 U.S.C. § 1114).

49.  Costco’s unauthorized use of the Tiffany Trademarks has caused, and unless
enjoined, will continue to cause substantial and irreparable injury to Tiffany for which Tiffany
has no adequate remedy at law, including substantial and irreparable injury to the goodwill and
reputation associated with the Tiffany Trademarks.

50. Upon information and belief, Costco’s infringement of the Tiffany Trademarks is
willful and reflects Costco’s intent to trade on the goodwill and strong brand recognition
associated with the Tiffany Trademarks.

51. Plaintiffs are entitled to injunctive relief, and also entitled to recover their costs,

reasonable attorney’s fees, and Costco’s profits under 15 U.S.C. §§ 1114, 1116, 1117.

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COUNT II
Federal False Designation of Origin and Unfair Competition

52. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs 1 through 44 above.

53.  Costco’s offer to sell, sale, distribution, and advertisement of engagement rings
under the Tiffany Trademarks constitutes unfair competition and false designation of origin in
violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

54. The Tiffany Trademarks are federally registered, and are entitled to protection
under both federal and common law.

55. Costco’s unauthorized use of the Tiffany Trademarks constitutes unfair
competition and the use of a false designation of origin that is likely to cause confusion and
deceive consumers as to the impression that Costco’s products are manufactured by, authorized
by, or otherwise associated with Tiffany in violation of section 43(a) of the Lanham Act, 15
ULS.C. § 1125¢a).

56. Costco’s unauthorized use of the Tiffany Trademarks has caused, and unless
enjoined, will continue to cause substantial and irreparable injury to Tiffany for which Tiffany
has no adequate remedy at law, including substantial and irreparable injury to the goodwill and
reputation associated with the Tiffany Trademarks.

57. Upon information and belief, Costco’s infringement of the Tiffany Trademarks is
willful and reflects Costco’s intent to trade on the goodwill and strong brand recognition
associated with the Tiffany Trademarks.

58. Plaintiffs have no adequate remedy at law. If use of the Tiffany Trademarks by
Costco is not enjoined, plaintiffs will suffer substantial and irreparable injury to their business

reputation and the goodwill associated with the Tiffany Trademarks.

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COUNT If
Federal Trademark Dilution

59. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs | through 44 above.

60. The Tiffany Trademarks are federally registered, and are entitled to protection

under both federal and common law.
61. The Tiffany Trademarks are famous marks. Specifically, (a) the Tiffany
Trademarks are inherently distinctive and have acquired a high degree of distinctiveness; (6)
Tiffany has used the Tiffany Trademarks for over 150 years in connection with the manufacture
and sale of high quality goods, including specialty gift items, such as jewelry, silver, china,
glassware, decorative objects, crystal, and clocks; (c) Tiffany has extensively advertised and
promoted the trademarks for over 150 years; (d) the Tiffany Trademarks have an extremely high
degree of recognition among consumers; and (e) the Tiffany Trademarks are registered on the
Principal Register of the United States Patent and Trademark Office under the Lanham Act.
Accordingly, the Tiffany Trademarks qualify for protection from dilution under Section 43(c) of
the Lanham Act, 15 U.S.C. § 1125(c).

62.  Costco’s unauthorized use of the Tiffany Trademarks has diluted and damaged
the distinctiveness of Tiffany’s famous marks and has caused, and unless enjoined, will continue
to cause substantial and irreparable injury to Tiffany for which Tiffany has no adequate remedy
at law, including substantial and irreparable injury to the goodwill and reputation associated with
the Tiffany Trademarks, all in violation of the Federal Trademark Dilution Act of 1995, 15

US.C. § 1125(c).

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63. Plaintiffs have no adequate remedy at law. If use of the Tiffany Trademarks by
Costco is not enjoined, plaintiffs will suffer substantial and irreparable injury to their business
reputation and the goodwill associated with the Tiffany Trademarks.

- COUNT IV
Federal Trademark Counterfeiting

64. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs 1 through 44 above.

65. The Tiffany Trademarks are federally registered, and are entitled to protection
under both federal and common law.

66. Without plaintiffs’ authorization or consent, Costco has used spurious
designations that are identical with, or substantially indistinguishable from, the Tiffany
Trademarks in connection with goods covered by registrations for the Tiffany Trademarks.

67. Costco has used these spurious designations knowing they are counterfeit in
connection with the advertisement, promotion, sale, offering for sale and distribution of goods in
direct competition with Tiffany’s goods covered by registrations for the Tiffany Trademarks.

68. Costco’s use of the spurious designations as set forth above in connection with
Costco’s business and the distribution, advertising and selling of Costco’s engagement rings is
likely to cause confusion, mistake and deception; and cause the public to believe that Costco’s
engagement rings are the same as Tiffany’s engagement rings or that Costco’s engagement rings
are authorized, sponsored or approved by Tiffany or that Costco is affiliated, connected or
associated with or in some way related to Tiffany.

69.  Costco’s use of the spurious designations as set forth above is likely to result in

Costco unfairly benefiting from Tiffany’s advertising and promotion and profiting from the

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reputation of Tiffany and the Tiffany Trademarks all to the substantial and irreparable injury of
the public, Tiffany and the Tiffany Trademarks and the substantial goodwill represented thereby.

70. The acts of Costco as described above constitute trademark counterfeiting in
violation of Section 32(c) of the Lanham Act, 15 U.S.C. § 1114(c).

71. Upon information and belief Costco’s use of the spurious designations is willful .
and reflects Costco’s intent to trade on the goodwill and strong brand recognition associated with
the Tiffany Trademarks.

72. Plaintiffs are entitled to injunctive relief, and are also entitled to statutory
damages as provided by 15 U.S.C. § 1117(c) of the Lanham Act, or at Tiffany’s election, an
amount representing three (3) times Tiffany’s damage or Costco’s illicit profits, and its costs and
reasonable attorney’s fees under 15 U.S.C. § 1117.

COUNT V
Violation of New York General Business Law Article 22-A § 349

73. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs | through 44 above.

74. Without plaintiffs’ authorization or consent, and having knowledge of Tiffany’s -
well-known, prior rights in the Tiffany Trademarks, Costco manufactured, distributed, promoted,
offered for sale and sold to the public engagement rings under the Tiffany name that are identical
and/or highly similar to the Tiffany Trademarks, in direct competition with Tiffany’s genuine
merchandise bearing the Tiffany Trademarks.

75.  Costco’s unauthorized use of the Tiffany Trademarks is likely to cause confusion
and deceive consumers as to the origin, sponsorship, or approval of Costco’s products by
creating the false and misleading impression that Costco’s products are manufactured by,

authorized by, or otherwise associated with Tiffany.

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76. If Costco’s activities are not enjoined, plaintiffs will suffer immediate and
continuing irreparable harm and injury to their reputation and to the goodwill and distinctiveness
in the Tiffany Trademarks.

COUNT VI
Violation of New York General Business Law Article 24 § 360-L

71. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs 1 through 44 above.

78. Costco’s unauthorized offer to sell, sale, distribution, and advertisement of
engagement rings bearing the Tiffany name violates Section 360-L of the New York General
Business Law.

79. The Tiffany Trademarks are federally registered and are entitled to protection
under both federal and New York common law.

80. Costco’s unauthorized use of the Tiffany Trademarks is likely to confuse and
deceive consumers as to the sponsorship or approval of Costco’s engagement rings by creating
the false and misleading impression that Costco’s engagement rings are authorized, licensed or
otherwise associated with Tiffany.

81. Costco’s unauthorized use of the Tiffany Trademarks, unless enjoined, will cause
substantial and irreparable injury to Tiffany for which Tiffany has no adequate remedy at law,
including at least substantial and irreparable injury to the goodwill and reputation associated with
the Tiffany Trademarks.

82.  Costco’s unauthorized use of the Tiffany Trademarks has diluted and damaged
the distinctiveness of Tiffany’s famous marks and has caused, and unless enjoined, will continue

to cause substantial and irreparable injury to plaintiffs for which they have no adequate remedy

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at law, including substantial and irreparable injury to the goodwill and reputation associated with
the Tiffany Trademarks.

83. Plaintiffs are entitled to injunctive relief, and are also entitled to recovery of
Costco’s profits, actual damages, enhanced profits and damages, costs, and reasonable attorney’s
fees.

COUNT VIL
Trademark Infringement in Violation of New York Common Law

84. Plaintiffs hereby incorporate by reference and reallege each and every allegation
set forth in Paragraphs | through 44 above.

85. Costco’s offer to sell, sale, distribution, and advertisement of engagement rings
under the Tiffany Trademarks constitutes common law trademark infringement.

86. The Tiffany Trademarks are federally registered, and are used in New York and
elsewhere extensively, and are entitled to protection under both federal. law and New York
common law.

87.  Costco’s unauthorized use of the Tiffany Trademarks is likely to cause confusion
and deceive consumers as to the origin, sponsorship, or approval of Costco’s products by
creating the false and misleading impression that Costco’s products are manufactured by,
authorized by, or otherwise associated with Tiffany.

88. Costco’s unauthorized use of the Tiffany Trademarks has caused, and unless
enjoined, will continue to cause substantial and irreparable injury to plaintiffs for which they
have no adequate remedy at law, including substantial and irreparable injury to the goodwill and

reputation associated with the Tiffany Trademarks.

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89. Upon information and belief, Costco’s infringement of the Tiffany Trademarks is
willful and reflects Costco’s intent to trade on the goodwill and strong brand recognition
associated with the Tiffany Trademarks.

90. Upon information and belief, Costco’s infringement of the Tiffany Trademarks
- has been deliberate and calculated, having copied Tiffany’s product and advertised, distributed,
and promoted Costco’s engagement rings under the Tiffany name, resulting in confusion and
deception among consumers as to the origin, sponsorship, or approval of Costco’s products, and
resulting in significant damages to Tiffany.

91. Plaintiffs are entitled to injunctive relief, and are also entitled to recover their
damages, costs, and reasonable attorney’s fees.

92. Costco’s acts constitute trademark infringement in violation of the common law
of the State of New York.

COUNT Vil
Unfair Competition in Violation of New York Common Law

93. Plaintiffs hereby incorporate by reference and reallege each and every allegation
- set forth in Paragraphs 1 through 44 above.

94. With knowledge of the fame and distinctiveness of the Tiffany Trademarks,
Costco intended to and did trade on the goodwill and strong brand recognition associated with
the Tiffany Trademarks by manufacturing, distributing, promoting and selling engagement rings
using the Tiffany name and under the Tiffany Trademarks.

95. Costco’s acts as alleged herein are likely to cause confusion, mistake, and
deception to consumers as to the affiliation, connection, or association of Costco with Tiffany,
and as to the origin, sponsorship, or approval of Costco’s engagement rings under the Tiffany

Trademarks, all to the detriment and damage of Tiffany and to the unjust enrichment of Costco.

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96.  Costco’s unauthorized use of the Tiffany Trademarks, unless enjoined, will cause
substantial and irreparable injury to plaintiffs for which they have no adequate remedy at law,
‘including at least substantial and irreparable injury to the goodwill and reputation associated with
the Tiffany Trademarks.

PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray for the following relief:
A. For judgment that:

(1) Costco has engaged in trademark infringement in violation of
Section 32(1) of the Lanham Act, 15 U.S.C. § 11141);

(ii) Costco has engaged in unfair competition and false designation of origin
in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a);

(iii) | Costco has engaged in trademark dilution under Section 43(c) of the
Lanham Act, 15 U.S.C. § 1125(c); .

(iv) Costco has engaged in trademark counterfeiting in violation of Section
32(c) of the Lanham Act, 15 U.S.C. 1114(¢);

(v) Costco has engaged in unlawful deceptive acts and practices in violation
of Section 349 of the New York General Business Law;

(vi) | Costco has engaged in trademark dilution in violation of Section 360-L of

the New York General Business Law;

(vii) Costco has engaged in trademark infringement in violation of the common
law of New York; and

(viii) Costco has engaged in unfair competition in violation of the common law

of New York.

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B. For a permanent injunction enjoining Costco, and any successors or assigns, and
its principals, officers, partners, agents, subcontractors, servants, employees, attorneys, affiliates,
licensees, subsidiaries and related companies or entities, and all others acting in active concert or
participation with it who receive actual notice of the Court’s order by personal service or
otherwise, from:

(i) using the Tiffany name and/or the Tiffany Trademarks or any other word,
symbol, or device or colorable imitation thereof, or any other mark belonging to Tiffany,
or any other mark, name, or term, in any manner or media, which is likely to cause
confusion, to cause mistake, or to deceive:

(ii) passing off, inducing, or enabling others to sell or pass off any product as
and for products produced by Tiffany, which are not in fact Tiffany’s products, or not
produced under the control and supervision of Tiffany and approved by Tiffany for sale
under the Tiffany Trademarks;

(iii) diluting and infringing the Tiffany Trademarks and damaging Tiffany’s
reputation and their goodwill in the Tiffany Trademarks;

(iv) | engaging in any other act likely to cause the mistaken belief that Costco
and the goods it sells or offers to sell are in any way endorsed or sponsored by, or
otherwise affiliated, connected, or associated with Tiffany;

(v) using the Tiffany name or the Tiffany Trademarks on or in connection with
any products, or any false designations of origin, false descriptions, or false
representations which may imply or lead the trade or public to believe that a product not
originating with Tiffany is Tiffany’s product or that Costco or Costco’s business is

Tiffany’s business or is otherwise approved or sponsored or affiliated with Tiffany; and

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(vi) | otherwise competing unfairly with Tiffany in any manner.

C. For an order directing (i) the destruction of all packaging and any printed
material, including advertising materials and POS displays, bearing the Tiffany Trademarks in
Costco’s possession or control, and all plates, molds, matrices and other means of making the
aforesaid printed materials, publicly acknowledging the wrongful activities alleged herein, and
(i) that Costco inform all purchasers of affected items that they did not purchase from Costco and
do not own Tiffany products.

D. For an order directing Costco to file with the Court and serve upon plaintiffs
within thirty (30) days after service of the injunction upon Costco, a report in writing and under
oath setting forth in detail the manner and form in which Costco has complied with the
injunction.

E. For an order that: (i) Costco account for and pay over to the amount of any profits
realized by Costco by reason of Costco’s unlawful and willful acts as alleged herein; (ii)
plaintiffs be awarded statutory damages in the amount of $2,000,000 per infringement pursuant
to 15 U.S.C. § 1117(c); (iii) the damages for infringement and dilution of the Tiffany
Trademarks, including but not limited to the profits realized by Costco by reason of Costco’s
‘unlawfal and willful acts alleged herein, be increased by a sum equal to three times the amount
thereof as provided by law; (iv) plaintiffs be awarded interest, including pre-judgment interest,
on all damages sums; (v) plaintiffs be awarded their costs and reasonable attorneys’ fees and
have such other and further relief as the Court may deem equitable, including, but not limited to,
any relief set forth under 15 U.S.C. §§ 1116-1118 and N.Y. Gen. Bus. Law §§ 349 and 360(L);
and (vi) plaintiffs be awarded actual and punitive damages as provided for under applicable

federal law and state law.

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F. For such other and further relief as the Court shall deem appropriate.

DEMAND FOR TRIAL BY JURY

Tiffany hereby demands trial by jury of all issues so triable.

Dated: New York, New York
February 14, 2013

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